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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 21-62449-CIV-SINGHAL/VALLE
  JOSE TORRES,

         Plaintiff,

  v.

  GSD CONTRACTING, LLC., and
  JASON BATES,

        Defendants.
  _______________________________________/

                                  NOTICE OF COMPLIANCE

         Plaintiff, Jose Torres, by and through undersigned counsel, hereby provides Notice that

  he has served counsel for Defendant, GSD Contracting, LLC with the Court’s Order [DE 18] and

  a courtesy copy of Plaintiff’s Statement of Claim [DE 10] on January 24, 2022

                                                     Respectfully submitted,

                                                    By: s/Chris Kleppin________________
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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 24, 2022, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel of record or pro se parties identified on the attached service list

  in the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel of parties who are not authorized to

  receive electronically Notices of Electronic Filing.

                                                                 By: /s/Chris Kleppin
                                                                      Chris Kleppin, Esq.


                                            SERVICE LIST


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